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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  RONALD C. KOLESAR, and
  THOMAS KLAUS,

       Plaintiffs,                                      Lead Case No. 1:21-cv-20
  v.

  DRIPDROP HYDRATION, INC.,

       Defendant.


ROBERT JAHODA,

       Plaintiff,                                       Member Case No. 2:21-cv-82

v.

MOXIELASH, INC.,

       Defendant.

                                 NOTICE OF SETTLEMENT

       COMES NOW Plaintiff Robert Jahoda, by and through his undersigned counsel, and

hereby advises this Honorable Court that he has reached an agreement in principle with Defendant,

Moxielash, Inc. The parties are finalizing settlement and dismissal documents, and expect to file

the dismissal papers within forty-five (45) days.

                                           /s/ Nicholas A. Colella
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